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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
NJM:KCB/EJD/DEL/AMR                                 271 Cadman Plaza East
F. #2018R01984                                      Brooklyn, New York 11201



                                                    November 23, 2022

By ECF

The Honorable Raymond J. Dearie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Branden Peterson
                      Criminal Docket No. 18-609 (RJD)

Dear Judge Dearie:

              The government respectfully submits this letter in advance of sentencing in the
above-captioned case, which is scheduled for December 8, 2022. For the reasons set forth below,
the government recommends that a Guidelines sentence of 240 months’ imprisonment be imposed
in this case.

I.     Facts

       A.      The Defendants’ Year-Long Efforts to Kill Sylvester and Salvatore Zottola

               This case was part of a long-term investigation by the Federal Bureau of
Investigation (“FBI”) and the New York City Police Department (“NYPD”) into violence
committed against Sylvester and Salvatore Zottola. Presentence Investigation Report (“PSR”) ¶ 4.
Over the course of a year, Sylvester Zottola was violently assaulted, menaced, stalked and
ultimately murdered. Id. ¶¶ 4-30. His son, Salvatore Zottola, was also menaced and nearly shot
dead. Id. The investigation led to charges against 11 defendants—including Anthony Zottola, the
son and brother of the victims, and Bushawn Shelton, the hitman hired by Anthony Zottola to kill
his father and brother. See generally id. Shelton, in turn, hired the defendant Branden Peterson,
among many others.

               1.     August 2017 Conspiracy

              Beginning in August 2017—and shortly after meeting defendant Anthony
Zottola—Shelton began texting other co-conspirators about a “mafia” or “Italian” connect who
would pay Shelton to beat up “one of his tenants.” See PSR ¶ 7. For example, on August 8, 2017,
Shelton texted co-defendant Herman Blanco, “He usually gives me a stack when I beat up his
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tenants lol I figured you can have it,” specifying that the location of the assault would be “Hobart
ave”—the street Sylvester Zottola then lived on, as well as other tenants of buildings owned and
maintained by the Zottola family—and specifically identifying the name of a tenant (not Sylvester
Zottola) who owed back rent to the Zottolas. GX 1206 at 1-3. Shelton informed Blanco that, “[i]f
[the beating] happens near the house he said let him know and he will disable the cameras.” Id. at
2. Shelton also texted Blanco, on August 11, 2017, “Remember I said he got some other big shit
lined up for us but I want to knock this out first.” Id. at 4. Later in August 2017, Shelton texted
co-defendant Julian Snipe that “the dude [Shelton was] trying to rock with on this new deal has
some issues with his neighbor,” and that “[t]he neighbor [wa]s putting up a stack to violate boy.”
GX 1208 at 1-2. Snipe responded, “Whenever u want to solve the situation hit me I’m game like
old times.” Id. at 2. On August 17, 2017, Zottola requested to meet with Shelton in person and,
later that day, Shelton texted Blanco, “Don’t worry about home boy in the TL [the car driven by
the Zottola’s tenant] something came up and he wants to wait on that.” GX 1206 at 5. Blanco
responded, “Give me all the details on the new one.” Id.

                Approximately one week later, on August 25, 2017, Shelton drove by Sylvester
Zottola’s home. Video of the drive-by was recovered from Shelton’s phone. On that same day,
Shelton texted Branden Peterson that Shelton could pay Peterson “[a] stack, $1,500” to have
“somebody grandfather beat up in the Bronx,” that the individual was “70” and “just needs a good
ass whooping.” See GX 1311, at 3-4; PSR ¶ 8. Shelton texted Peterson that he was “trying to find
[M]urda [i.e., another co-conspirator] because he owe but I’ll pay, I just need it done ASAP.” GX
1311 at 4. Peterson expressed interest, and the two met later that evening at approximately 10:00
p.m. See id. at 6. The two then had several additional conversations over text about payment and
failed attempts to locate Zottola, including Peterson providing a description of Zottola’s neighbors
to Shelton and a discussion between the two of cars driven by the victim and his family. See id.
at 6-23. At one point, after Peterson was encountering difficultly in locating Zottola to carry out
the job, Peterson texted Shelton,

       PETERSON:              Bout to knock on his door that morn an whip him out.

       SHELTON:               Lol I was thinking that but it’s to many cameras

       PETERSON:              Yea I’m to the point cuzo I gotta get him

       SHELTON:               I feel The same way I’m ready to move on to the next

       PETERSON:              Word

       PETERSON:              We need all that

       SHELTON:               Definitely do, and it’s mad simple shit

       PETERSON:              I’m with it all

Id. at 24-26.

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               2.     September 2017 Assault of Sylvester Zottola

                 After several failed attempts to locate Sylvester Zottola, Peterson committed the
first violent attack against Zottola on September 8, 2017. See PSR ¶ 8.1 Shelton and Peterson
exchanged messages about the attack in early September 2017, including about Peterson traveling
to Zottola’s residence to surveil it. See id. at 27-36. The day of the attack, Peterson informed
Shelton about police presence near Sylvester Zottola’s home and sent Shelton a photograph of
police cars near the Zottola residence. See id. at 37; see also GX 101 at 1-2.2 Shelton promptly
relayed the information to Anthony Zottola, writing, “Peace brother is everything good with you.
On my way to work I passed your house and it’s a lot of police in front. Just making sure you ok.”
GX 101 at 1. Zottola responded, “For now yes,” after which Shelton texted Peterson, “He don’t
know, nothing on his end.” Id.

                 Shortly thereafter, Peterson approached Sylvester Zottola near his residence, as
captured on video surveillance. See GX 401; 402. The video depicts Peterson, whose face is
clearly visible, lingering outside Zottola’s residence and then approaching Zottola as Zottola
checked his mail. See id. Peterson briefly inquired about a job, and then punched Sylvester
Zottola in the face and body repeatedly, knocking him to the ground and watching him roll on the
street, before fleeing. Zottola remained immobile in the middle of the street until passersby came
over to assist him. Id. After the attack, Shelton and Peterson exchanged numerous phone calls.
See GX 101.

               3.     November 2017 Menacing of Sylvester Zottola

               After the September assault, the defendants began their attempts to murder
Sylvester Zottola. On November 26, 2017, a dark van pulled in front of Sylvester Zottola while
he was driving, forcing him to stop. PSR ¶¶ 9-10. An individual wearing a mask exited the van
and pointed a gun at Sylvester Zottola. Id. ¶ 10. After Sylvester Zottola escaped and notified law
enforcement, police officers recovered the van at the scene and found a checkered face mask and
jacket. Shelton’s DNA was on both the mask and the jacket, and Peterson’s DNA was on the
mask. Id. ¶ 10.

              Shelton and Peterson began texting about this second attack in late October and
early November 2017. See GX 1210 at 8-9. For example, on November 12, 2017, Shelton and
Peterson exchanged the following text messages:



       1
              The PSR mistakenly identifies the victim of this assault as Salvatore Zottola. PSR
¶ 8. The victim of the September assault was his father, Sylvester Zottola. The same is true for
the November and December 2017 attacks described in the PSR. See PSR ¶¶ 9-13.
       2
               Government Exhibit 101, introduced at the trial of Peterson’s co-defendants, is
comprised of text messages recovered from various of Shelton’s phones as well as call detail
records, indicated by the “data source” column, placed in date and time order to provide a full
chronology of the timeline of the attack on September 8, 2017.

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       PETERSON:               See if u can see who got a G ride [i.e., car] for 2000 to 2500 for
                               this week by Thursday Cuzo peace call u later

       SHELTON:                I’ll check

       PETERSON:               Got that mask for u

       SHELTON:                What mask?




       PETERSON:

Id. at 9. As set forth above, the mask in the photograph sent by Peterson to Shelton is identical the
mask recovered after the November attempted murder on Sylvester Zottola, which had DNA from
both Shelton and Peterson. Shelton and Peterson continued to text about the attack in early
November, including exchanging texts about needing a car “[t]o finally get this out the way.” Id.
at 10. On November 18, 2017, Shelton and Peterson exchanged the following text messages:

       PETERSON:               10 Richmond Plaza (1:05 PM )

       SHELTON:                Down stairs (1:37 PM )

       PETERSON:               Coming down now (1:37 PM)

       PETERSON:               Shit was a trying another (8:44 PM)

       SHELTON:                Any luck (8:48 PM)

               Shortly thereafter on the same day, SHELTON and a relative, an unindicted co-
conspirator (“UCC”), exchanged the following text messages:

       BUSHAWN:                This nigga pissed me off (9:56 PM)

       UCC:                    Who (9:57 PM)

       BUSHAWN:                Brandon [i.e., Peterson] (9:57 PM)

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       UCC:                    Lawd (9:57 PM)

       BUSHAWN:                Now I gotta get the piece back cause it’s on 20% (9:57 PM)

       UCC:                    Yes u do (9:58 PM)

See GX 1212. Throughout the pendency of the murder-for-hire conspiracy, Shelton regularly
referred to GPS tracking devices used to track Sylvester and Salvatore Zottola as “the piece,” often
with references to the percentage of battery left on the tracking device (“I gotta get the piece back
cause it’s on 20%”). Each tracking device used by Shelton and his conspirators were battery
operated; the user of the tracking device could view the percentage of battery power left in the
device at any given time using an application powered by the LandAirSea, the company servicing
the tracking devices.

                The investigation has revealed that a battery-operated tracking device was used in
the days leading up to the November 26, 2017 attempted murder of Sylvester Zottola (the
“November Tracking Device”), although not on the day itself. 3 Specifically, the November
Tracking Device was activated on November 10, 2017, in the vicinity of Shelton’s residence in
the name “Bushawn Shelton.” Around the time of the exchange between Shelton and the UCC on
November 18, 2017, the November Tracking Device was in the vicinity of Sylvester Zottola’s
residence on Hobart Avenue in the Bronx. As of 10:23 p.m., the November Tracking Device was
recording locations in the same vicinity. It then stopped recording locations until 11:20 p.m., when
it appears to have been located in a different section of the Bronx. By 11:42 p.m., the November
Tracking Device was back in the vicinity of Sylvester Zottola’s residence. During this time period,
Shelton and Blanco exchanged text messages needing to “put the piece back,” and, when Blanco
was not immediately able to do so, Shelton texted:

       SHELTON:                It’s good I’ll go put it back, I just didn’t want to because I was just
                               under there to take it off (11:02 PM)

       BLANCO:                 Bet Bro… I think the fast way is better (11:04 PM)

       SHELTON:                Fast way? (11:14 PM)

       BLANCO:                 Bang bang!!! (11:15 PM)

       SHELTON:                Kopy (11:15 PM)

       BLANCO:                 That’s ur style (11:16 PM)

       3
               The tracking device was registered in Shelton’s name, and, based on the activity of
the tracking device and text messages between Shelton and Anthony Zottola, Shelton used the
tracking device to establish Sylvester Zottola’s patterns in order to know where and when to best
attack him but removed the device shortly before the attack as not to implicate himself. See, e.g.,
PSR ¶ 9.

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       PETERSON:               Copy (10:28 AM)

See GX 1210; see also GX 102 at 1.4

                At around the same time, Shelton texted UCC, “I’m over here given This nigga a
pep though text [laughing emoji] [emoji] [laughing emoji] [emoji].” GX 1212 at 2; GX 102 at 1.
Shelton and Peterson exchanged a number of voice calls, and then UCC texted Shelton about
parking her car in an area with no cameras so that Shelton would not “be seen getting in” the car.
GX 1212 at 2-6; GX 102 at 1-2. Shelton asked UCC whether she was near “2717 Bruckner
Boulevard, Bronx, NY,” a location in the Throggs Neck section of the Bronx, near where the
Zottolas lived, to which she confirmed she was moving in that direction. Id. at 6-7.

               The November attempted murder of Sylvester Zottola occurred at approximately
3:11 p.m. Specifically, the Blue Van attempted to cut off Sylvester Zottola and a man with a gun
and a mask—Shelton—exited the Blue Van in an attempt to kill Sylvester Zottola, who narrowly
escaped by placing his car in reverse and speeding away to a police precinct to report the attack.
License plate reader records show that the Blue Van had been parked in the Locust Point section
of the Bronx, near where the Zottola family compound was located and near the section of the
Throggs Neck Expressway where the November attack occurred, at approximately 2:45 p.m. See
GX 801. At the same time, cell site location data placed both Peterson and Shelton at the same
location as the Blue Van in the Locust Point section of the Bronx—far from their residences in
Brooklyn—and just south of Edgewater Park, where the attempted attack occurred. See GX 150
at 11. Approximately 10 to 15 minutes after the attack, cell site location data placed Peterson just
north of the location of the attack. See id. at 12. Sylvester Zottola immediately reported the
attempt on his life to the police.

                 Shortly after the attempted murder, Shelton and Anthony Zottola exchanged coded
text messages. See PSR ¶ 11. Anthony Zottola wrote to Shelton, “I hope you can get the actor
[i.e., Sylvester Zottola].” Shelton replied that “the costar just got into it with the director about 15
minute ago and they had to call security [i.e., the police].” Id. After Anthony Zottola said that he
“needed this bad,” Shelton wrote that “[t]oday was set to be the end finally until the actor wanted
to do his own stunts and throw it in reverse in the middle of shooting a scene and drive in the
opposite direction”—a description of Sylvester Zottola’s escape efforts. Id. Anthony Zottola
replied, “[o]k. But we can still do the end I hope.” Shelton assured Anthony Zottola that he was
“putting together a new cast,” and that they were “going to film in his dressing room [i.e. Sylvester
Zottola’s residence].” Id.




       4
               Government Exhibit 102, like Government Exhibit 101, was introduced at the trial
of Peterson’s co-defendants and is comprised of text messages recovered from various of Shelton’s
phones as well as call detail records, indicated by the “data source” column, placed in date and
time order to provide a full chronology of the timeline of the attack on November 26, 2017.

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                4.      Stabbing and Shootings of Sylvester and Salvatore Zottola

               The spree of violence continued in the following months. In December 2018, two
days after Christmas, three men beat and stabbed Sylvester Zottola inside of his home—an attack
planned by Shelton and Anthony Zottola. PSR ¶¶ 12-13. Specifically, on the evening of December
27, 2017, three men entered Sylvester Zottola’s residence. PSR ¶ 12. One of the men, carrying a
gun, struck Sylvester Zottola on the head, knocking him to the floor. Id. The men then stabbed
Sylvester Zottola multiple times in and around his neck and torso, although their victim
miraculously survived. Before leaving the residence, the men stole approximately $3,000 in cash.
Id.

               In the months after the brutal home invasion, Shelton and Anthony Zottola planned
additional attempts, with Shelton attempting recruit numerous individuals with the promise of
payment. See, e.g., PSR ¶¶ 14-24. In addition to hundreds of text messages recovered from
Shelton’s phones recruiting and attempting to recruit individuals, Shelton also recruited a
cooperating witness (“CW-1”), in or around January or February 2018, to kill the victims in
exchange for money. Id. ¶ 17. Shelton recruited a second cooperating witness (“CW-2”) in or
around Spring 2018, to do the same. Id. ¶ 16. Shelton provided these hit men with firearms, access
to vehicles and drivers on multiple occasions to carry out the murder-for-hire plot.

                During this time period, Peterson remained involved in the murder plot. For
example, in March 2018, Shelton asked Peterson to hold a car for him after the “Dawgs [i.e., the
Murderous Mad Dawgs, the Bloods subset that Shelton led] were supposed to handle something
but they didn’t and now I want the car back in the east and not with them.” See GX 1218 at 1-2.
Then, on March 20, 2018, Shelton texted Peterson, “If you got someone to finish the mission I’ll
give them 10k [i.e., $10,000] and you can keep the car.” Id. at 3. Peterson responded that he
would try to find someone (“Ok I’m a see”). Id. Later that day, Shelton texted Peterson for an
update and Peterson indicated he was “working on that now,” and then, three days later, informed
Shelton that he “[g]ot someone for work.” Id. at 4. The two then met in person to speak. Id. at 4-
5. The following day, on March 24, 2018, Shelton and Peterson texted about obtaining a gun
(“[t]he Dawg is bringing me the situation,” i.e., a gun) and a car (“Ok gotta get the van”)—the two
items provided by Shelton to each of the cooperating witnesses in this case for each attempt on the
victims’ lives. Id. at 5.

                On March 31, 2018, after Shelton unsuccessfully attempted to get in touch with
Peterson, Shelton texted Peterson, “Yeah it kind of put me in a ham but im on my way to Harlem
now to talk to my guy he been ready I just need a driver for him.” Id. at 7. CW-1, who lived in
Harlem, testified at trial in this case about Shelton’s difficulties finding a reliable driver for him to
carry out the hits. Peterson responded, “Ok cousin so talk to him and call him,” “I will drive let
me know so I get temps [i.e., a temporary license plate].” Id. at 8. Shelton and Peterson arranged
to meet on April 1. A couple days later, Shelton and Peterson again texted about the plan.
Specifically, Shelton texted Peterson, “Yeah tell me why in the middle of the mission today they
put a boot on the v [i.e., the car],” and then, “So I’m trying to go back tonight but I don’t want to
drive me [sic] shit but I will if I have to.” Id. at 10. As this text message and other text messages
with co-conspirators during the pendency of the conspiracy made clear, although Shelton often
used his own car to drive back and forth to the victims’ residences in the Bronx to, among other

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things, conduct surveillance and place the tracking devices, he did not want to use his own car in
connection with an attack because it was a distinct, black and red Dodge Charger that was
registered in his own name.

                Several attempted attacks occurred in the spring of 2018, including an incident in
which a co-conspirator approached Salvatore Zottola with a gun outside of one of the family’s
properties in the Bronx, and a break-in of the family’s office by defendant Jason Cummings. See
PSR ¶¶ 18-20. Cummings, who broke into the Zottolas’ office on May 1, 2018, with a gun and
with the intent to kill Sylvester Zottola, fled after he accidentally tripped the panic alarm and the
police responded. Id. ¶ 20. Then, on May 29, 2018—as Shelton was still attempting to put together
a driver and a shooter to carry out the next attack—Peterson committed to being the driver.
Specifically, Peterson and Shelton exchanged the following messages:

       SHELTON:                He will be ready at 430 so we can roll out in an hour and half
                               around 330/345 (1:37 AM)

       SHELTON:                Just hit me when you situated (1:37 AM)

       PETERSON:               Got u (1:50 AM)

       SHELTON:                What’s poppin (3:31 AM)

       SHELTON:                You ready (3:53 AM)

       PETERSON:               Tomorrow night better then today no bs h Give ne time to get
                               Phone send van (4:26 AM)

       PETERSON:               Plus I got someone to follow me (4:36 AM)

       PETERSON:               U want to now I need extra v (4:36 AM)

       SHELTON:                Ok tomorrow it is (4:36 AM)

       PETERSON:               I ain’t been home in a week (4:37 AM)

       PETERSON:               I will drive no matter what I need that (4:37 AM)

       SHELTON:                Ok cuzo no problem but I really need you tomorrow on this. (4:38
                               AM)

       SHELTON:                Get you some rest I know the lady miss you if you haven’t been
                               there in a week (4:38 AM)

       PETERSON:               I got u (4:41 AM)

       PETERSON:               U always got me if needed (4:41 AM)
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       PETERSON:              I’m about to go get my gear right (4:41 AM)

                CW-1 testified about numerous failed attempts to commit the murder during this
time period, including attempts with CW-2, another driver and, ultimately Ross—leading to a June
12, 2018 attempt by CW-1 and Ross to kill Sylvester Zottola, in which Sylvester Zottola fired a
shot at Ross, among others. CW-2 also went to the Bronx by himself with a gun on one occasion
to kill Sylvester Zottola, but fled after he was seen by Salvatore Zottola. Throughout this entire
time period, Shelton and Anthony Zottola continued to exchange coded text messages about the
conspiracy.

               In June 2018, Shelton began tracking Salvatore Zottola’s location through the use
of two tracking devices on his personal vehicle and a work van that he frequently used. On the
morning of July 11, 2018, Salvatore Zottola parked his vehicle in front of his residence. PSR ¶ 21.
As he exited the vehicle, a red Nissan Altima driven by Codner pulled up to the residence. Id.
Ross exited the vehicle and shot Salvatore Zottola several times in the head, torso, and hand and
fled in the red Nissan. Id. Salvatore Zottola survived the attack after undergoing surgery. Id.
Law enforcement officers later recovered a tracking device from the underside of the vehicle
Salvatore Zottola was driving on the morning he was attacked.

                Following the July 11 attempted murder of Salvatore Zottola, in or around
September and early October 2018, Shelton, Ross and others texted about needing to procure a
driver for the homicide, ultimately resulting in their recruitment of Alfred Lopez.5 PSR ¶¶ 23-24.
Shelton, Ross and Blanco also tested a tracking device that was placed on Sylvester Zottola’s car.
Id. In September 2018, Shelton and Peterson again texted about the murder-for-hire plot.
Specifically, on September 28, 2018—approximately one week before the murder of Sylvester
Zottola—Shelton and Peterson exchanged the following messages:

       SHELTON:               What’s poppin with the situation?

       SHELTON:               Ok I gotta get with you because I need to know a serious window
                              because I got your message that you wouldn’t be good until
                              Saturday last week. I’m good and the accident happened6 but even
                              if I was on my death bed i’d still be focused on this. At least I’d
                              know that bread [i.e., cash] would have my boys and kay [Takeisha
                              Shelton] good after I’m gone lol

       SHELTON:               So let me know when you can talk

       PETERSON:              Ok and yes I was waiting for u to hit me up cuzo… I’m a be in Nj
                              for today but tomorrow we can link

       5
               Defendant Alfred Lopez was acquitted at trial.
       6
               Shelton was involved in a minor car accident around this time.

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II.    Analysis

                A Guidelines sentence of 240 months’ imprisonment would reflect the nature and
circumstances of the offense, avoid unwarranted sentencing disparities, and promote general and
specific deterrence. See 18 U.S.C. § 3553(a)(1), (a)(2) and (a)(6).

               Peterson joined conspiracies to both assault and murder two people. He himself
committed a brutal assault of an elderly victim, punching him until he fell to the ground and did
not get back up, in exchange for cash. Peterson did not stop there, he also continued to conspire
to kill the same victim—helping Shelton orchestrate and commit the November assault, as
evidenced by the text message correspondence between himself and Shelton, his DNA on a mask
recovered from the scene and cell site location data placing him there. But for the fact that the
victim escaped them, Peterson and Shelton would have murdered Sylvester Zottola that day. Thus,
there is no mitigation in the fact that Sylvester Zottola was not killed that day. Peterson and
Shelton spent significant time staging that attack by tracking the victim and procuring supplies
with the goal of completing and profiting from Zottola’s murder.

               Peterson remained a willing and able participant in this murder conspiracy long
after the November 2017 attack. Peterson continued to profess his loyalty to Shelton and his
willingness to help Shelton for the entire duration of the conspiracy, including by storing and
procuring cars for Shelton, as well as by acting as a driver and bringing in another co-conspirator
for $10,000 (“If you got someone to finish the mission I’ll give them 10k and you can keep the
car”). The text message correspondence, in which Shelton and Peterson regularly discuss the
payment of large amounts of cash—including in late September 2018, days before the murder,
when Shelton texted Peterson he would be “focus[ed] on this” even if he were on his “death bed”
because he would know that “bread would have my boys and [wife] good after I’m gone”—clearly
demonstrates Peterson’s intimate knowledge of the plot through the end. Moreover, several attacks
on the victims were highly publicized, including the July 11 attempted murder of Salvatore Zottola
and the October 4 murder of Sylvester Zottola. Peterson did nothing to stop these brutal attacks
and, to the contrary, continued to support Shelton. Indeed, from the group of eleven defendants
charged in this case, Peterson was one of the defendants in the conspiracy for the longest amount
of time, alongside Zottola, Shelton, Blanco and Snipe.

               The government does not dispute that Peterson qualifies for a minor role adjustment
based on his participation in the conspiracy—a significant determinant in the government’s plea
offer in this case capping his sentencing exposure at 20 years, rather than the 40-year or life
sentences that his co-defendants face.8 But this role adjustment speaks more to the particularly
heinous nature of the crimes in this case—the sheer number of attacks that terrorized the Zottola
family month after month, resulting in the final year of Sylvester Zottola’s life being more akin to
a horror movie than anything else—than the defendant’s conduct in joining a murder-for-hire
conspiracy and assisting Shelton in carrying out the plot when asked to do so. The defendant’s

       8
               In addition to Peterson, the government also offered Jason Cummings, who was
involved solely in the May 2018 break-in of the office, an attempt to kill the victims, as detailed
above, a plea agreement capping his sentencing exposure at 20 years.

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conduct in joining the murder-for-hire scheme, providing help and support to Shelton throughout
out, carrying out a brutal assault of an elderly victim and actively planning and participating in a
second attack on the same victim is incredibly serious, deliberate conduct ultimately resulting in
the execution of another person, and the Court, even considering the defendant’s role, should treat
it as such.

                Nor was this conduct entirely aberrational for Peterson, who has two prior
convictions—one for criminal possession of a controlled substance and another for possessing a
gun. PSR ¶¶ 60-61. During the gun arrest, the defendant also resisted arrest. Id. Moreover, the
defendant is a committed member of the Crips street gang, a violent street gang responsible for
significant crimes throughout the New York City area, and even has the letters “C R I P S” tattooed
on his knuckles. As noted in the PSR, Peterson has been largely unable to maintain regular
employment, and that he would turn to committing physical acts of violence against another human
in exchange for money, at the behest of a friend, demonstrates that a significant sentence is needed
to deter him and protect the public.

                Moreover, a sentence of 240 months would also guard against unwarranted,
nationwide disparities. See United States v. Wills, 476 F.3d 103, 110 (2d Cir. 2007) (emphasis
added) (re-affirming that the focus of 18 U.S.C. § 3553(a)(6) is primarily “to minimize nationwide
disparities” and that a court is not even required to consider disparities among co-defendants),
abrogated on other grounds by United States v. Cavera, 550 F.3d 180, 191 (2d Cir. 2008) (en banc).
According to statistics maintained by the United States Sentencing Commission, the average
sentence for murder is 244 months. For defendants in criminal history category III, like the
defendant, that number jumps to 258 months. The average sentence for the defendant’s primary
guidelines—Sections 2E1.4 and 2A1.1, as outlined above—is yet higher, at 267 months, and still
higher—269 months—when accounting for the defendant’s criminal history category. 9 But
Peterson was not a member of a conspiracy to commit an isolated murder-for-hire, or even an
isolated murder. His crimes occurred in the context of attack after attack after attack; he had every
opportunity to exit the conspiracy or stop the violence, but instead chose to continue helping and
supporting Shelton in carrying out the attempted murder and murder.

                Accordingly, although the government is not asking for a true Guidelines sentence
in this case—given the statutory cap of 240 months, years below the Guidelines range calculated
by the parties and by the PSR—the Court should impose a sentence significantly higher than the
time-served sentence advocated for by Peterson, in which he grossly minimizes his conduct, failing
to take full responsibility for his participation in the November attack and failing to address
whatsoever the numerous additional conversations with Shelton about the murder-for-hire plot,
including the ways in which Peterson readily agreed to help Shelton even up through late
September 2018. Cf. Def. Mem. at 2 (indicating purported “full acceptance of responsibility” but
failing to acknowledge the evidence of his role in the November attempted murder and failing to

       9
                See U.S. Sentencing Commission Interactive Data Analyzer for Fiscal Year 2021,
available at https://ida.ussc.gov/analytics/ (displaying data based on selection of “crime type” to
be murder; primary guideline to be §§ 2E1.4 and 2A1.1; and criminal history category to be III,
where applicable).

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purposes. See 18 U.S.C. § 3553(a)(1) & (a)(2). Perhaps most importantly, it will protect the public
from the defendant.

                                                     Respectfully submitted,

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